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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                           )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )   C.A. No. 22-1466-MN
                                                  )
TESLA, INC.,                                      )
                                                  )
               Defendant.                         )


            PROTECTIVE ORDER GOVERNING THE DESIGNATION AND
                  HANDLING OF CONFIDENTIAL MATERIALS

       Plaintiff Autonomous Devices LLC (“Plaintiff”) and Defendant Tesla, Inc. (“Defendant”)

anticipate that documents, testimony, or information containing or reflecting confidential,

proprietary, trade secret, and/or commercially sensitive information are likely to be disclosed or

produced during the course of discovery, initial disclosures, and supplemental disclosures in this

case and request that the Court enter this Order setting forth the conditions for treating, obtaining,

and using such information.

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the Court finds good cause

for the following Agreed Protective Order Regarding the Disclosure and Use of Discovery

Materials (“Order” or “Protective Order”).

       1.      PURPOSES AND LIMITATIONS

               (a)     Protected Material designated under the terms of this Protective Order shall

be used by a Receiving Party solely for this case, and shall not be used directly or indirectly for

any other purpose whatsoever.




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               (b)     The Parties acknowledge that this Order does not confer blanket protections

on all disclosures during discovery, or in the course of making initial or supplemental disclosures

under Rule 26(a). Designations under this Order shall be made with care and shall not be made

absent a good faith belief that the designated material satisfies the criteria set forth below. If it

comes to a Producing Party’s attention that designated material does not qualify for protection at

all, or does not qualify for the level of protection initially asserted, the Producing Party must

promptly notify all other Parties that it is withdrawing or changing the designation.

               (c)     Other Proceedings. By entering this order and limiting the disclosure of

information in this case, the Court does not intend to preclude another court from finding that

information may be relevant and subject to disclosure in another case. Any person or party subject

to this order who becomes subject to a motion to disclose another party’s information designated

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” “HIGHLY

CONFIDENTIAL – SOURCE CODE TECHNICAL DOCUMENTS,” or “HIGHLY

CONFIDENTIAL – SOURCE CODE” pursuant to this order shall promptly notify that party of

the motion so that the party has a reasonable opportunity to appear and be heard on whether that

information should be disclosed prior to disclosure.

       2.      DEFINITIONS

               (a)     “CONFIDENTIAL” means information (regardless of how it is generated,

stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil

Procedure 26(c).

               (b)     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” means

sensitive “CONFIDENTIAL” information (regardless of how it is generated, stored or maintained)

or tangible things, disclosure of which to another would create a substantial risk of serious harm



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that could not be avoided by less restrictive means. The Parties agree that the following

information, if non-public, shall be presumed to at least merit the “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” designation: trade secrets, pricing information, financial data, sales

information, sales or marketing forecasts or plans, business plans, sales or marketing strategy,

product development information, engineering documents, testing documents, employee

information, and other non-public information of similar competitive and business sensitivity.

               (c)     “HIGHLY CONFIDENTIAL – SOURCE CODE” means “Source Code,”

which is computer code, associated comments, and/or revision histories for computer code,

formulas, engineering specifications, or schematics that define or otherwise describe in detail the

algorithms or structure of software or hardware designs. “Source Code” shall be designated as

“HIGHLY CONFIDENTIAL – SOURCE CODE” in all permitted forms, printed, written or

otherwise.

               (d)     “HIGHLY       CONFIDENTIAL        –    SOURCE      CODE      TECHNICAL

DOCUMENTS” means “Source Code Related Technical Documents,” which are documents that

fall within the definition of “Source Code” but do not contain “computer code, associated

comments, and/or revision histories for computer code” (i.e., “formulas, engineering

specifications, or schematics that that define or otherwise describe in detail the algorithms or

structure of software or hardware designs”). “Source Code Related Technical Documents” shall

be designated as “HIGHLY CONFIDENTIAL – SOURCE CODE TECHNICAL DOCUMENTS”

in all permitted forms, printed, written or otherwise.

               (e)     “Discovery Material” means all items or information, including from any

non-party, regardless of the medium or manner generated, stored, or maintained (including, among




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other things, testimony, transcripts, or tangible things) that are produced, disclosed, or generated

in connection with discovery or Rule 26(a) disclosures in this case.

               (f)     “Expert” means a person with specialized knowledge or experience in a

matter pertinent to the respective litigations who (1) has been retained by a Party or its counsel to

serve as an expert witness or as a consultant in the above-captioned action, (2) is not a current

employee of a Party or of a Party’s competitor, and (3) at the time of retention, is not anticipated

to become an employee of a Party or of a Party’s competitor.

               (g)     “Outside Counsel” means (i) attorneys who are not employees of a Party to

the above-captioned action but are retained to represent or advise a Party to that action and have

appeared on the pleadings as counsel for a Party and (ii) partners, associates, and staff of such

counsel to whom it is reasonably necessary to disclose the information for this litigation.

               (h)     “Patents-in-suit” means U.S. Patent Nos. 10,102,449; 11,055,583;

10,452,974; 11,238,344; 10,607,134; and 11,113,585, and any other patent asserted in this action.

               (i)     “Party” means any party to this case, including all of its officers, directors,

employees, consultants, retained Experts, and Outside Counsel and their support staffs.

               (j)     “Producing Party” means any Party or non-party that discloses or produces

any Discovery Material in this case.

               (k)     “Protected Material” means any Discovery Material that is designated as

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” “HIGHLY

CONFIDENTIAL – SOURCE CODE TECHNICAL DOCUMENTS,” or “HIGHLY

CONFIDENTIAL – SOURCE CODE,” as provided for in this Order. Protected Material shall not

include: (i) advertising materials that have been actually published or publicly disseminated; and

(ii) materials that show on their face they have been disseminated to the public.



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               (l)     “Receiving Party” means any Party who receives Discovery Material from

a Producing Party.

       3.      COMPUTATION OF TIME

       The computation of any period of time prescribed or allowed by this Order shall be

governed by the provisions for computing time set forth in Federal Rules of Civil Procedure 6.

       4.      SCOPE

               (a)     The protections conferred by this Order cover not only Discovery Material

governed by this Order as addressed herein, but also any information copied or extracted

therefrom, as well as all copies, excerpts, summaries, or compilations thereof, plus testimony,

conversations, or presentations by Parties or their counsel in court or in other settings that might

reveal Protected Material.

               (b)     Nothing in this Protective Order shall prevent or restrict a Producing Party’s

own disclosure or use of its own Protected Material for any purpose, and nothing in this Order

shall preclude any Producing Party from showing its Protected Material to an individual who

prepared the Protected Material.

               (c)     Nothing in this Order shall be construed to prejudice any Party’s right to

use any Protected Material in court or in any court filing with the consent of the Producing Party

or by order of the Court.

               (d)     This Order is without prejudice to the right of any Party to seek further or

additional protection of any Discovery Material or to modify this Order in any way, including,

without limitation, an order that certain matter not be produced at all.

               (e)     The protections conferred by this Order do not cover the following

information: (a) any information that the Receiving Party can show is in the public domain at the



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time of disclosure to a Receiving Party or becomes part of the public domain after its disclosure to

a Receiving Party as a result of publication not involving a violation of this Order, including

becoming part of the public record through trial or otherwise; and (b) any information that the

Receiving Party can clearly show was known to the Receiving Party prior to the disclosure or

obtained by the Receiving Party after the disclosure from a source who obtained the information

lawfully and under no obligation of confidentiality to the Party that designated the Discovery

Material.

       5.      DURATION

       Even after the termination of this case, the confidentiality obligations imposed by this

Order shall remain in effect until a Producing Party agrees otherwise in writing or a court order

otherwise directs.

       6.      ACCESS TO AND USE OF PROTECTED MATERIAL

               (a)     Basic Principles. All Protected Material shall be used solely for this case or

any related appellate proceeding, and not for any other purpose whatsoever, including without

limitation any other litigation, patent prosecution or acquisition, patent reexamination or reissue

proceedings, or any business or competitive purpose or function. Protected Material shall not be

distributed, disclosed or made available to anyone except as expressly provided in this Order.

               (b)     Patent Prosecution Bar. Absent the written consent of the Producing Party,

any person on behalf of the Plaintiff who personally reviews any technical CONFIDENTIAL,

HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY, HIGHLY CONFIDENTIAL –

SOURCE CODE TECHNICAL DOCUMENTS, or HIGHLY CONFIDENTIAL – SOURCE

CODE are prohibited from participating in an administrative proceeding for the examination and

reexamination of a patent or patent application insofar as the participation involves input into the



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drafting, revising or amending of a patent claim relating to the functionality, operation, and design

of autonomous systems, machine learning, or artificial intelligence (generally or as described in

any patent in suit), if such administrative proceeding (e.g., patent application filing) was

commenced less than two years following the final termination of this action (including any

appeals). This prosecution bar does not prevent an individual from participating in a

reexamination, inter partes review, or other post-grant review proceedings involving the patents-

at-issue or patents related thereto, except that the individual is prohibited from participating in, or

otherwise providing input into, the drafting of any claim or amendment to any claim.

               (c)     Secure Storage, No Export. Protected Material must be stored and

maintained by a Receiving Party in locked and hardened containers (e.g. a safe or lockbox) at a

location in the United States. Access to such locked and hardened containers shall be strictly

limited to the persons authorized under this Order. To ensure compliance with applicable United

States Export Administration Regulations, Protected Material may not be exported outside the

United States or released to any foreign national (even if within the United States).

               (d)     Legal Advice Based on Protected Material. Nothing in this Protective Order

shall be construed to prevent counsel from advising their clients with respect to this case based in

whole or in part upon Protected Materials, provided counsel does not disclose the Protected

Material itself or the substance thereof except as provided in this Order.

               (e)     Limitations. Nothing in this Order shall restrict in any way a Producing

Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or known

to the Receiving Party independent of the Producing Party; (iii) previously produced, disclosed



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and/or provided by the Producing Party to the Receiving Party or a non-party without an

obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court.

       7.      DESIGNATING PROTECTED MATERIAL

               (a)     Available Designations. Any Producing Party may designate Discovery

Material with any of the following designations, provided that it meets the requirements for such

designations as provided for herein: “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY,” “HIGHLY CONFIDENTIAL – SOURCE CODE TECHNICAL

DOCUMENTS,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”

               (b)     Written Discovery and Documents and Tangible Things. Written discovery,

documents (which include “electronically stored information,” as that phrase is used in Federal

Rule of Procedure 34), and tangible things that meet the requirements for the confidentiality

designations listed in Paragraph 7(a) may be so designated by placing the appropriate designation

on every page of the written material prior to production. For digital files being produced, the

Producing Party may mark each viewable page or image with the appropriate designation, and

mark the medium, container, and/or communication in which the digital files were contained. In

the event that original paper documents are produced for inspection, the original documents shall

be presumed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” during the inspection

and re-designated, as appropriate during the copying process.

               (c)     Native Files. Where electronic files and documents are produced in native

electronic format, such electronic files and documents shall be designated for protection under this

Order by appending to the file names or designators information indicating whether the file

contains “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”



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“HIGHLY CONFIDENTIAL – SOURCE CODE TECHNICAL DOCUMENTS,” or “HIGHLY

CONFIDENTIAL – SOURCE CODE,” material, or shall use any other reasonable method for so

designating Protected Materials produced in electronic format. When electronic files or documents

are printed for use at deposition, in a court proceeding, or for provision in printed form to an Expert

or consultant pre-approved pursuant to paragraph 12, the party printing the electronic files or

documents shall affix a legend to the printed document corresponding to the designation of the

Designating Party and including the production number and designation associated with the native

file.

                (d)    Depositions and Testimony. Parties or testifying persons or entities may

designate depositions and other testimony with the appropriate designation by indicating on the

record at the time the testimony is given or by sending written notice of how portions of the transcript

of the testimony is designated within thirty (30) days of receipt of the transcript of the testimony.

If no indication on the record is made, all information disclosed during a deposition shall be

deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until the time within

which it may be appropriately designated as provided for herein has passed. Any Party that wishes

to disclose the transcript, or information contained therein, may provide written notice of its intent

to treat the transcript as non-confidential, after which time, any Party that wants to maintain any

portion of the transcript as confidential must designate the confidential portions within fourteen

(14) days, or else the transcript may be treated as non-confidential. Any Protected Material that is

used in the taking of a deposition shall remain subject to the provisions of this Protective Order,

along with the transcript pages of the deposition testimony dealing with such Protected Material.

In such cases the court reporter shall be informed of this Protective Order and shall be required to

execute an agreement to be bound by this Protective Order in the form of Exhibit A hereto, and



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shall operate in a manner consistent with this Protective Order. In the event the deposition is

videotaped, the original and all copies of the videotape shall be marked by the video technician to

indicate that the contents of the videotape are subject to this Protective Order, substantially along

the lines of “This videotape contains confidential testimony used in this case and is not to be

viewed or the contents thereof to be displayed or revealed except pursuant to the terms of the

operative Protective Order in this matter or pursuant to written stipulation of the parties.”

Counsel for any Producing Party shall have the right to exclude from oral depositions, other

than the deponent, deponent’s counsel, the reporter and videographer (if any), any person who

is not authorized by this Protective Order to receive or access Protected Material based on the

designation of such Protected Material. Before publication of any material subject to this

Protective Order to any non-Tesla witness, counsel shall determine whether such witness is

authorized to view such material. Such right of exclusion shall be applicable only during

periods of examination or testimony regarding such Protected Material.

       8.      DISCOVERY MATERIAL DESIGNATED AS “CONFIDENTIAL”

               (a)     A     Producing     Party    may    designate     Discovery     Material    as

“CONFIDENTIAL” if the Producing Party reasonably believes it contains or reflects

“CONFIDENTIAL” information.

               (b)     Unless otherwise ordered by the Court, Discovery Material designated as

“CONFIDENTIAL” may be disclosed only to the following:

                       (i)     The Receiving Party’s Outside Counsel, such counsel’s immediate

paralegals and staff, and any copying or clerical litigation support services working at the direction

of such counsel, paralegals, and staff;




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                        (ii)    Any outside Expert or consultant retained by the Receiving Party to

assist in this action, provided that disclosure is only to the extent necessary to perform such work;

and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

such Expert or consultant is not involved in competitive decision-making, as defined by U.S. Steel

v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of

a Party such Expert or consultant accesses the materials in the United States only, and does not

transport them to or access them from any foreign jurisdiction; and (d) no unresolved objections

to such disclosure exist after proper notice has been given to all Parties as set forth in Paragraph

12 below; Court reporters, stenographers and videographers retained to record testimony taken in

this action;

                        (iii)   The Court, jury, and court personnel;

                        (iv)    Graphics, translation, design, and/or trial consulting personnel,

having first agreed to be bound by the provisions of the Protective Order by signing a copy of

Exhibit A;

                        (v)     Mock jurors who have signed an undertaking or agreement agreeing

not to publicly disclose Protected Material, not to use the Protected Material in any way other than

as a mock juror, and to keep any information concerning Protected Material confidential;

                        (vi)    Any mediator who is assigned to hear this matter, and his or her

staff, subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order; and



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                       (vii)   Any other person with the prior written consent of the Producing

Party.

         9.    DISCOVERY MATERIAL DESIGNATED AS “HIGHLY CONFIDENTIAL
               – ATTORNEYS’ EYES ONLY”

               (a)     A Producing Party may designate Discovery Material as “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” if the Producing Party reasonably believes it

contains or reflects “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

               (b)     Unless otherwise ordered by the Court, Discovery Material designated as

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” may be disclosed only to:

                       (i)     The Receiving Party’s Outside Counsel, provided that such Outside

Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

services working at the direction of such counsel, paralegals, and staff;

                       (ii)    Any outside Expert or consultant retained by the Receiving Party to

assist in this action, provided that disclosure is only to the extent necessary to perform such work;

and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

of retention to become an officer, director, or employee of a Party or of a competitor of a Party;

(c) such Expert or consultant is not involved in competitive decision-making, as defined by U.S.

Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a

competitor of a Party; (d) such Expert or consultant accesses the materials in the United States

only, and does not transport them to or access them from any foreign jurisdiction; and (e) no


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unresolved objections to such disclosure exist after proper notice has been given to all Parties as

set forth in Paragraph 12 below;

                        (iii)   Court reporters, stenographers and videographers retained to record

testimony taken in this action;

                        (iv)    The Court, jury, and court personnel;

                        (v)     Graphics, translation, design, and/or trial consulting personnel,

having first agreed to be bound by the provisions of the Protective Order by signing a copy of

Exhibit A;

                        (vi)    Any mediator who is assigned to hear this matter, and his or her

staff, subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order; and

                        (vii)   Any other person with the prior written consent of the Producing

Party.

               (c)      In addition, a Party may disclose arguments and materials derived from

Discovery Material designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

to mock jurors who have signed an undertaking or agreement agreeing not to publicly disclose

Protected Material and to keep any information concerning Protected Material confidential. A

Party may not disclose to mock jurors any original, as-produced materials or information

(including, for example, documents, deposition testimony, or interrogatory responses) produced

by another Party designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

         10.   DISCOVERY MATERIAL DESIGNATED AS “HIGHLY CONFIDENTIAL
               SOURCE CODE TECHNICAL DOCUMENTS” OR “HIGHLY
               CONFIDENTIAL – SOURCE CODE”

               (a)      To the extent production of Source Code becomes necessary to the

prosecution or defense of the case, a Producing Party may designate Source Code as “HIGHLY

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CONFIDENTIAL          SOURCE       CODE       TECHNICAL        DOCUMENTS”           or   “HIGHLY

CONFIDENTIAL – SOURCE CODE.”

               (b)     Nothing in this Order shall be construed as a representation or admission

that Source Code is properly discoverable in this action, or to obligate any Party to produce any

Source Code.

               (c)     Unless otherwise ordered by the Court, Discovery Material designated as

“HIGHLY CONFIDENTIAL SOURCE CODE TECHNICAL DOCUMENTS” or “HIGHLY

CONFIDENTIAL – SOURCE CODE” shall be subject to the provisions set forth in Paragraph 11

below, and may be disclosed, subject to Paragraph 11 below, solely to:

                       (i)     The Receiving Party’s Outside Counsel, provided that such Outside

Counsel is not involved in competitive decision-making, as defined by U.S. Steel v. United States,

730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of a Party, and such

Outside Counsel’s immediate paralegals and staff, and any copying or clerical litigation support

services working at the direction of such counsel, paralegals, and staff;

                       (ii)    Any outside Expert or consultant retained by the Receiving Party to

assist in this action, provided that disclosure is only to the extent necessary to perform such work;

and provided that: (a) such Expert or consultant has agreed to be bound by the provisions of the

Protective Order by signing a copy of Exhibit A; (b) such Expert or consultant is not a current

officer, director, or employee of a Party or of a competitor of a Party, nor anticipated at the time

of retention to become an officer, director or employee of a Party or of a competitor of a Party; (c)

such Expert or consultant is not involved in competitive decision-making, as defined by U.S. Steel

v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a Party or a competitor of




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a Party; and (d) no unresolved objections to such disclosure exist after proper notice has been given

to all Parties as set forth in Paragraph 12 below;

                        (iii)   Court reporters, stenographers and videographers retained to record

testimony taken in this action;

                        (iv)    The Court, jury, and court personnel;

                        (v)     Any mediator who is assigned to hear this matter, and his or her

staff, subject to their agreement to maintain confidentiality to the same degree as required by this

Protective Order; and

                        (vi)    Any other person with the prior written consent of the Producing

Party.

         11.    DISCLOSURE AND REVIEW OF SOURCE CODE

         Any Source Code that is produced in discovery shall be made available for inspection, in

electronic (e.g., native) format. The Producing Party shall produce Source Code for inspection in

electronic (e.g., native) format at the office of its Outside Counsel in Silicon Valley, California.

                (a)     Any single reviewing session (conducted during one business day or during

consecutive business days of review) shall be conducted during regular business hours (8:00 A.M.

to 6:00 P.M. local time) on four (4) business days’ written (including email) notice, although the

Parties will be reasonable in accommodating reasonable requests to conduct inspections at other

times and on shorter notice.

                (b)     Prior to the first inspection of Source Code, the Receiving Party shall

provide fourteen (14) days’ notice for its Source Code inspection request.

                (c)     Source Code that is designated “HIGHLY CONFIDENTIAL SOURCE

CODE TECHNICAL DOCUMENTS” or “HIGHLY CONFIDENTIAL – SOURCE CODE” shall



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be produced for inspection and review subject to the following provisions, unless otherwise agreed

by the Producing Party:

                     i.       All Source Code shall be made available by the Producing Party to

               the Receiving Party’s outside counsel and/or Experts in a secure room (“Source

               Code Review Room”) on at least two (2) secured computers without Internet access

               or network access to other computers, and on which all access ports have been

               disabled, as necessary and appropriate to prevent and protect against any

               unauthorized copying, transmission, removal or other transfer of any Source Code

               outside or away from the computer on which the Source Code is provided for

               inspection (the “Source Code Computer”). The Producing Party shall install tools

               that are sufficient for viewing and searching the code produced, on the platform

               produced, if such tools exist. The Receiving Party’s Outside Counsel and/or

               Experts may request that commercially available software tools for viewing and

               searching Source Code be installed on the secured computers, provided, however,

               that (a) the Receiving Party possesses an appropriate license to such software tools;

               (b) the Producing Party approves such software tools; and (c) such other software

               tools are reasonably necessary for the Receiving Party to perform its review of the

               Source Code consistent with all of the protections herein. The Receiving Party must

               provide the Producing Party with the software tool(s) at least fourteen (14) days in

               advance of the date upon which the Receiving Party wishes to have the additional

               software tools available for use on the Source Code Computer. The Receiving Party

               shall not copy, remove, or otherwise transfer any portion of the Source Code onto




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           any recordable media or recordable device absent prior agreement of the Producing

           Party.

                ii.        No recordable media or recordable devices, including without

           limitation sound recorders, computers, cellular telephones, peripheral equipment,

           cameras, CDs, DVDs, or drives of any kind shall be permitted into the Source Code

           Review Room. Upon request, the Producing Party shall provide personnel to keep

           such devices (include cellular telephones) secure while a member of the Receiving

           Party is in the Source Code Review Room, and shall promptly notify the member

           if any calls or notifications are received.

                iii.       The Source Code shall be produced as it is kept in the normal course

           of business, or as it would be collected in the normal course of business. The

           Receiving Party’s outside counsel and/or Experts shall be entitled to take

           handwritten notes relating to the Source Code. Such notes shall be labeled

           “HIGHLY CONFIDENTIAL – SOURCE CODE.” The Receiving Party shall be

           under no obligation to produce handwritten notes. No copies of all or any portion

           of the Source Code may leave the room in which the Source Code is inspected

           except as otherwise provided in this Protective Order. The Receiving Party’s

           outside counsel and/or Experts shall also be entitled to take notes relating to the

           Source Code, but may not copy the Source Code into the notes. No other computer

           is permitted in the Source Code Review Room. Further, no other written or

           electronic record of the Source Code is permitted except as otherwise provided in

           this Protective Order.




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                  iv.     The Source Code provider shall provide a manifest of the contents

           of the computer to include a list of Source Code files available for review. This

           manifest, which will be supplied in both printed and electronic form, will list the

           name, location, and MD5 checksum of every Source Code file on the Source Code

           Computer.

                  v.      The Source Code Computer shall include software utilities which

           will allow counsel and experts to view and search the Source Code. At a minimum,

           these utilities must provide the ability to (a) view, search, and line-number any

           source file, and (b) search for a given pattern of text through a number of files, (c)

           compare two files and display their differences, and (d) compute the MD5

           checksum of a file.

                  vi.     The Producing Party may visually monitor the activities of the

           Receiving Party’s representatives during any Source Code review, but only to

           ensure that no unauthorized electronic records of the Source Code and no

           information concerning the Source Code are being created or transmitted in any

           way.

               vii.       The Receiving Party may request copies of reasonable portions of

           the Source Code identified in a reasonable manner. The Receiving Party shall not

           print Source Code in order to review blocks of Source Code elsewhere in the first

           instance, i.e., as an alternative to reviewing that Source Code electronically on the

           Source Code Computer, as the Parties acknowledge and agree that the purpose of

           the protections herein would be frustrated by printing portions of code for review

           and analysis elsewhere. In the event that the Receiving Party requests more than 15



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              consecutive pages, or an aggregate of more than 500 pages, of print outs of Source

              Code, 1 the parties shall have a meet and confer in good faith. A text editor will be

              provided on the Source Code Computer so that the files to be printed may be saved

              directly to the Source Code Computer. If the Producing Party objects that identified

              files are not reasonably necessary, the Producing Party shall make such objection

              known to the Receiving Party within three (3) business days of the identification of

              any files by the Receiving party. If, after meeting and conferring, the Producing

              Party and the Receiving Party cannot resolve the objection, the Producing Party

              shall be entitled to seek a judicial resolution of whether or not the identified Source

              Code in question is reasonably necessary to any case preparation activity. At the

              request of the Receiving Party, in the absence of any objection the Producing Party

              shall provide within five (5) days of such request, paper copies of the Source Code

              identified at the time of inspection by the Receiving Party. The Producing Party

              shall print, label such Source Code with the Source Code’s complete path name,

              and append production numbers and the designation “HIGHLY CONFIDENTIAL

              – SOURCE CODE.” The paper copies must be kept in a secured, locked and

              hardened containers (e.g. a safe or lockbox) location at the offices of the Receiving

              Party’s Outside Counsel at all times. The Receiving Party may make no more than

              five (5) additional paper copies of any portions of the Source Code files, not

              including copies attached to court filings or trial and hearing demonstrative




1
 Notwithstanding this provision, printouts of Source Code Related Technical Documents shall not
count towards the Receiving Party’s aggregate or consecutive page limits. Defendant will promptly
provide Plaintiff with printed copies of each Source Code Related Document each time such a
document is produced.

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           exhibits. The Parties anticipate that the Receiving Party shall only make additional

           paper copies if such additional copies are (1) necessary to prepare court filings,

           pleadings, or other papers (including a testifying expert’s expert report), or (2)

           necessary for deposition. The Receiving Party shall request printing of only such

           portions as are relevant to the claims and defenses in the case and are reasonably

           necessary for such purpose. Such printouts are to be of minimum 10-point, fixed-

           width font, and shall not exceed sixty-five (65) lines of text per page. The Producing

           Party may challenge the amount of Source Code requested in hard copy form

           pursuant to the dispute resolution procedure and timeframes set forth herein

           whereby the Producing Party is the “Challenging Party,” and the Receiving Party

           is the “Designating Party” for purposes of dispute resolution.

              viii.       The Receiving Party’s Outside Counsel shall maintain a log of all

           paper copies of the Source Code. The log shall include the number of paper copies,

           names of the recipients of paper copies, and locations where the paper copies are

           stored. Upon one (1) day’s advance notice to the Receiving Party by the Producing

           Party, the Receiving Party shall provide a copy of this log to the Producing Party.

           All copies of Source Code shall be printed with an “anti-copying” watermark that

           reveals whether such printouts have been photocopied. Any watermark shall not

           render the text difficult to reach such that the copy is unusable, nor should the

           watermark indicate that the copy is unauthorized, given that Plaintiff may make 5

           additional copies.

                ix.       The Receiving Party’s Outside Counsel and any person receiving a

           copy of any Source Code shall maintain and store any paper copies of the Source



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           Code at their offices in locked and hardened containers (e.g. a safe or lockbox) that

           prevents duplication of or unauthorized access to the Source Code.

                x.        Except as provided in this Protective Order, no electronic copies of

           the Source Code shall be made.

                xi.       Unless otherwise agreed in advance by the parties in writing, the

           Receiving Party’s Outside Counsel and/or Experts shall remove all notes,

           documents, and all other materials from the Source Code Review Room that may

           contain work product and/or attorney-client privileged information at the end of

           each day. Materials inadvertently left in the Source Code Review Room do not

           operate as a waiver of the attorney work product doctrine or any other applicable

           privilege and shall be returned to the owner promptly. The Producing Party shall

           not be responsible for any items left in the Source Code Review Room. Proper

           identification of all authorized persons shall be provided prior to any access to the

           secure room or the computer containing Source Code. Proper identification requires

           showing, at a minimum, a photo identification card sanctioned by the government

           of any State of the United States, by the government of the United States, or by the

           nation state of the authorized person’s current citizenship. Access to the secure

           room or the Source Code Computer may be denied, at the discretion of the supplier,

           to any individual who fails to provide proper identification.

               xii.       For depositions, the Receiving Party shall not bring copies of any

           documents designated HIGHLY CONFIDENTIAL – SOURCE CODE.

              xiii.       For depositions, if a Source Code document has been marked up or

           altered in any way by the deponent, the Producing Party shall copy the exhibit in



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           its marked form and provide one copy to outside counsel for the Receiving Party.

           Copies of Source Code that are marked as deposition exhibits shall not be provided

           to the Court Reporter or attached to deposition transcripts; rather, the deposition

           record will identify the exhibit by its production numbers. All paper copies of

           Source Code brought to the deposition shall remain with the Producing Counsel’s

           outside counsel for secure destruction in a timely manner following the deposition.

              xiv.        Except as provided in this sub-paragraph, absent express written

           permission from the Producing Party, the Receiving Party and any persons

           receiving Source Code from Receiving Party may not create electronic images, or

           any other images, or make electronic copies, of the Source Code from any paper

           copy of Source Code for use in any manner (including by way of example only, the

           Receiving Party and any persons receiving Source Code from Receiving Party may

           not scan the Source Code to a PDF or photograph the code). A party may make and

           use snippets and images of the Source Code if necessary for court filings, expert

           reports, discovery responses and other similar documents and exhibits thereto. All

           such documents shall be clearly marked “HIGHLY CONFIDENTIAL – SOURCE

           CODE” and, if filed, shall be filed under seal. Unless agreed by the parties, images

           or copies of Source Code shall not be included in correspondence between the

           Parties (references to production numbers shall be used instead). Unless agreed by

           the parties, images or copies of Source Code shall be omitted from pleadings,

           exhibits, and other papers whenever possible and reasonably minimized when not.

               xv.        All persons who will review a Producing Party’s Source Code on

           behalf of a Receiving Party, including members of a Receiving Party’s outside law



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               firm, shall be identified in writing to the Producing Party at least five (5) days in

               advance of the first time that such person reviews such Source Code Computer. All

               persons viewing Source Code Computer shall sign on each day they view Source

               Code Computer a log that will include the names of persons who enter the locked

               room to view the Source Code Computer and when they enter and depart. The

               Producing Party shall be entitled to a copy of the log upon one (1) day’s advance

               notice to the Receiving Party.

                     xvi.      At least three (3) days before the date of a deposition, a Receiving

               Party may request that the witness have access to a Source Code Computer. The

               Producing Party shall provide a Source Code Computer that the witness can access

               and an external monitor that allows the questioning attorney to see the files being

               discussed during the deposition on the condition that the deposition take place at a

               location of the Producing Party’s choosing. The deposition record will identify the

               file names and file paths being discussed.

       NOTICE OF DISCLOSURE

               (d)       Prior to disclosing any Protected Material to any person described in

Paragraphs8(b)(ii), 9(b)(ii), or 10(c)(ii) (referenced below as “Person”), the Party seeking to

disclose such information shall provide the Producing Party with written notice that includes:

       (i) the name of the Person;

       (ii) an up-to-date curriculum vitae of the Person;

       (iii) the present employer and title of the Person;

       (iv) an identification of all of the Person’s past and current employment and consulting

               relationships, including direct relationships and relationships through entities



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                owned or controlled by the Person, including but not limited to an identification of

                any individual or entity with or for whom the person is employed or to whom the

                person provides consulting services relating to the design, development, operation,

                or patenting of autonomous systems, machine learning, or artificial intelligence, or

                relating to the acquisition of intellectual property assets relating to autonomous

                systems, machine learning, or artificial intelligence;

        (v) an identification of all pending patent applications on which the Person is named as an

                inventor, in which the Person has any ownership interest, or as to which the Person

                has had or anticipates in the future any involvement in advising on, consulting on,

                preparing, prosecuting, drafting, editing, amending, or otherwise affecting the

                scope of the claims; and

        (vi) a list of the cases in which the Person has testified at deposition or trial within the last

                five (5) years.

Further, the Party seeking to disclose Protected Material shall provide such other information

regarding the Person’s professional activities reasonably requested by the Producing Party for it to

evaluate whether good cause exists to object to the disclosure of Protected Material to the outside

Expert or consultant. During the pendency of and for a period of one (1) year after the final

resolution of this action, including all appeals, the Party retaining any expert given access to

Protected Material shall immediately provide written notice of any change with respect to the

Person’s involvement in the design, development, operation or patenting of autonomous systems,

machine learning, or artificial intelligence, or the acquisition of intellectual property assets relating

to autonomous systems, machine learning, or artificial intelligence.




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                 (e)   Within seven (7) days of receipt of the disclosure of the Person, the

Producing Party or Parties may object in writing to the Person for good cause. In the absence of

an objection at the end of the seven (7) day period, the Person shall be deemed approved under

this Protective Order. There shall be no disclosure of Protected Material to the Person prior to

expiration of this seven (7) day period. If the Producing Party objects to disclosure to the Person

within such seven (7) day period, the Parties shall meet and confer via telephone or in person

within seven (7) days following the objection and attempt in good faith to resolve the dispute on

an informal basis. If the dispute is not resolved, the Party objecting to the disclosure will have

seven (7) days from the date of the meet and confer to seek relief from the Court. If relief is not

sought from the Court within that time, the objection shall be deemed withdrawn. If relief is sought,

designated materials shall not be disclosed to the Person in question until the Court resolves the

objection.

                 (f)   For purposes of this section, “good cause” shall include an objectively

reasonable concern that the Person will, advertently or inadvertently, use or disclose Discovery

Materials in a way or ways that are inconsistent with the provisions contained in this Order.

                 (g)   Prior to receiving any Protected Material under this Order, the Person must

execute a copy of the “Agreement to Be Bound by Protective Order” (Exhibit A hereto) and serve

it on all Parties.

                 (h)   An initial failure to object to a Person under this Paragraph 12 shall not

preclude the non-objecting Party from later objecting to continued access by that Person for good

cause. If an objection is made, the Parties shall meet and confer via telephone or in person within

seven (7) days following the objection and attempt in good faith to resolve the dispute informally.

If the dispute is not resolved, the Party objecting to the disclosure will have seven (7) days from



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the date of the meet and confer to seek relief from the Court. The designated Person may continue

to have access to information that was provided to such Person prior to the date of the objection.

If a later objection is made, no further Protected Material shall be disclosed to the Person until the

Court resolves the matter or the Producing Party withdraws its objection. Notwithstanding the

foregoing, if the Producing Party fails to move for a protective order within seven (7) business

days after the meet and confer, further Protected Material may thereafter be provided to the Person.

       12.     CHALLENGING DESIGNATIONS OF PROTECTED MATERIAL

               (a)     A Party shall not be obligated to challenge the propriety of any designation

of Discovery Material under this Order at the time the designation is made, and a failure to do so

shall not preclude a subsequent challenge thereto.

               (b)     Any challenge to a designation of Discovery Material under this Order shall

be written, shall be served on outside counsel for the Producing Party, shall particularly identify

the documents or information that the Receiving Party contends should be differently designated,

and shall state the grounds for the objection. Thereafter, further protection of such material shall

be resolved in accordance with the following procedures:

                       (i)     The objecting Party shall have the burden of conferring either in

person, in writing, or by telephone with the Producing Party claiming protection (as well as any

other interested party) in a good faith effort to resolve the dispute. The Producing Party shall have

the burden of justifying the disputed designation;

                       (ii)    Failing agreement, the Receiving Party may bring a motion to the

Court for a ruling that the Discovery Material in question is not entitled to the status and protection

of the Producing Party’s designation. The Parties’ entry into this Order shall not preclude or

prejudice either Party from arguing for or against any designation, establish any presumption that



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a particular designation is valid, or alter the burden of proof that would otherwise apply in a dispute

over discovery or disclosure of information;

                       (iii)   Notwithstanding any challenge to a designation, the Discovery

Material in question shall continue to be treated as designated under this Order until one of the

following occurs: (a) the Party who designated the Discovery Material in question withdraws such

designation in writing; or (b) the Court rules that the Discovery Material in question is not

entitled to the designation.

       13.     SUBPOENAS OR COURT ORDERS

               (a)     If at any time Protected Material is subpoenaed by any court, arbitral,

administrative, or legislative body, the Party to whom the subpoena or other request is directed

shall immediately give prompt written notice thereof to every Party who has produced such

Discovery Material and to its counsel and shall provide each such Party with an opportunity to

move for a protective order regarding the production of Protected Materials implicated by the

subpoena.

       14.     FILING PROTECTED MATERIAL

               (a)     Absent written permission from the Producing Party or a court Order

secured after appropriate notice to all interested persons, a Receiving Party may not file or disclose

in the public record any Protected Material.

               (b)     Any Party is authorized under Del. L.R. 5.1.3 to file under seal with the

Court any brief, document or materials that are designated as Protected Material under this Order.

However, nothing in this section shall in any way limit or detract from this Order’s requirements

as to Source Code.




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       15.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

               (a)     The inadvertent production by a Party of Discovery Material subject to the

attorney-client privilege, work-product protection, or any other applicable privilege or protection,

despite the Producing Party’s reasonable efforts to prescreen such Discovery Material prior to

production, will not waive the applicable privilege and/or protection if a request for return of such

inadvertently produced Discovery Material is made promptly after the Producing Party learns of

its inadvertent production.

               (b)     Upon a request from any Producing Party who has inadvertently produced

Discovery Material that it believes is privileged and/or protected, each Receiving Party shall

immediately return such Protected Material or Discovery Material and all copies to the Producing

Party, except for any pages containing privileged markings by the Receiving Party which shall

instead be destroyed and certified as such by the Receiving Party to the Producing Party.

               (c)     Nothing herein shall prevent the Receiving Party from preparing a record for

its own use containing the date, author, addresses, and topic of the inadvertently produced Discovery

Material and such other information as is reasonably necessary to identify the Discovery Material

and describe its nature to the Court in any motion to compel production of the Discovery Material.

       16.     INADVERTENT FAILURE TO DESIGNATE PROPERLY

               (a)     The inadvertent failure by a Producing Party to designate Discovery

Material as Protected Material with one of the designations provided for under this Order shall not

waive any such designation provided that the Producing Party notifies all Receiving Parties that

such Discovery Material is protected under one of the categories of this Order within fourteen (14)

days of the Producing Party learning of the inadvertent failure to designate. The Producing Party

shall reproduce the Protected Material with the correct confidentiality designation within seven (7)



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days upon its notification to the Receiving Parties. Upon receiving the Protected Material with the

correct confidentiality designation, the Receiving Parties shall return or securely destroy, at the

Producing Party’s option, all Discovery Material that was not designated properly.

               (b)     A Receiving Party shall not be in breach of this Order for any use of such

Discovery Material before the Receiving Party receives such notice that such Discovery Material

is protected under one of the categories of this Order, unless an objectively reasonable person

would have realized that the Discovery Material should have been appropriately designated with

a confidentiality designation under this Order. Once a Receiving Party has received notification of

the correct confidentiality designation for the Protected Material with the correct confidentiality

designation, the Receiving Party shall treat such Discovery Material (subject to the exception in

Paragraph 16(c) below) at the appropriately designated level pursuant to the terms of this Order.

               (c)     Notwithstanding      the    above,     a    subsequent     designation       of

“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” “HIGHLY

CONFIDENTIAL – SOURCE CODE TECHNICAL DOCUMENTS,” or “HIGHLY

CONFIDENTIAL –SOURCE CODE” shall apply on a going forward basis and shall not disqualify

anyone who reviewed “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” or “HIGHLY CONFIDENTIAL –– SOURCE CODE” materials while the

materials were not so-marked from engaging in the activities set forth in Paragraph 6(b).

       17.     INADVERTENT DISCLOSURE NOT AUTHORIZED BY ORDER

               (a)     In the event of a disclosure of any Discovery Material pursuant to this Order

to any person or persons not authorized to receive such disclosure under this Protective Order, the

Party responsible for having made such disclosure, and/or each Party with knowledge thereof, shall

immediately notify counsel for the Producing Party whose Discovery Material has been disclosed



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and provide to such counsel all known relevant information concerning the nature and

circumstances of the disclosure. The responsible disclosing Party shall also promptly take all

reasonable measures to retrieve the improperly disclosed Discovery Material and to ensure that no

further or greater unauthorized disclosure and/or use thereof is made

               (b)     Unauthorized or inadvertent disclosure does not change the status of

Discovery Material or waive the right to hold the disclosed document or information as Protected.

               (c)     The Receiving Party shall promptly notify the Producing Party within 5

days if it becomes aware of any unauthorized access of the Receiving Party or any unauthorized

access of a Party having access to the Producing party’s materials.

       18.     FINAL DISPOSITION

               (a)     Not later than ninety (90) days after the Final Disposition of this case, each

Party shall return all Discovery Material of a Producing Party to the respective outside counsel of

the Producing Party or destroy such Material. For purposes of this Order, “Final Disposition”

occurs after an order, mandate, or dismissal finally terminating the above-captioned action with

prejudice, including all appeals.

               (b)     All Parties that have received any such Discovery Material shall certify in

writing that all such materials have been returned to the respective outside counsel of the Producing

Party or destroyed. Notwithstanding the provisions for return of Discovery Material, outside

counsel may retain one set of pleadings, correspondence and attorney and consultant work product

(but not document productions) for archival purposes, but must return any pleadings,

correspondence, and consultant work product that contain Source Code.

                       Notwithstanding this provision, Counsel are entitled to retain an archival

copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,



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correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

and expert work product, even if such materials contain Protected Material. Any such archival

copies that contain or constitute Protected Material remain subject to this Protective Order.

         19.   DISCOVERY FROM EXPERTS OR CONSULTANTS

               (a)     Absent good cause, drafts of reports of testifying Experts, and reports and

other written materials, including drafts, of consulting Experts, shall not be discoverable.

               (b)     Reports and materials exempt from discovery under the foregoing

Paragraph shall be treated as attorney work product for the purposes of this case and Protective

Order.

               (c)     Testifying Experts shall not be subject to discovery with respect to any draft

of his or her report(s) in this case. Draft reports, notes, or outlines for draft reports developed and

drafted by the testifying Expert and/or his or her staff are also exempt from discovery.

               (d)     Discovery of materials provided to testifying experts shall be limited to

those materials, facts, consulting expert opinions, and other matters reviewed (regardless of

whether such information was relied upon) or relied upon by the testifying expert in forming his

or her final report, trial, or deposition testimony or any opinion in this case. For clarity, this

provision is not intended to abrogate the protections for draft reports or disclosures under Fed. R.

Civ. P. 26. No discovery can be taken from any non-testifying Expert except to the extent that such

non-testifying Expert has provided information, opinions, or other materials to a testifying Expert

relied upon by that testifying Expert in forming his or her final report(s), trial, and/or deposition

testimony or any opinion in this case.

               (e)     No conversations or communications between counsel and any testifying or

consulting Expert will be subject to discovery unless the conversations or communications are



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relied upon by such Experts in formulating opinions that are presented in reports or trial or

deposition testimony in this case.

                (f)    Materials, communications, and other information exempt from discovery

under the foregoing Paragraphs 20(a)–(c) shall be treated as attorney-work product for the

purposes of this litigation and Order.

                (g)    Nothing in Protective Order, including Paragraphs 20(a)–(c), shall alter or

change in any way the requirements in Paragraph 11 regarding Source Code, and Paragraph 11

shall control in the event of any conflict.

        20.     MISCELLANEOUS

                (a)    Right to Further Relief. Nothing in this Order abridges the right of any

person to seek its modification by the Court in the future. The Parties do not waive the right to

argue that certain material may require additional or different confidentiality protections than those

set forth herein.

                (b)    Termination of Matter and Retention of Jurisdiction. The Parties agree that

the terms of this Protective Order shall survive and remain in effect after the Final Determination

of the above-captioned matter. The Court shall retain jurisdiction after Final Determination of this

matter to hear and resolve any disputes arising out of this Protective Order.

                (c)    Successors. This Order shall be binding upon the Parties hereto, their

attorneys, and their successors, executors, personal representatives, administrators, heirs, legal

representatives, assigns, subsidiaries, divisions, employees, agents, retained consultants and

Experts, and any persons or organizations over which they have direct control.

                (d)    Right to Assert Other Objections. No Party waives any right it otherwise

would have to object to disclosing or producing any information or item. Similarly, no Party



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waives any right to object on any ground to use in evidence of any of the material covered by this

Protective Order. This Order shall not constitute a waiver of the right of any Party to claim in this

action or otherwise that any Discovery Material, or any portion thereof, is privileged or otherwise

non-discoverable, or is not admissible in evidence in this action or any other proceeding.

               (e)     Burdens of Proof. Notwithstanding anything to the contrary above, nothing

in this Protective Order shall be construed to change the burdens of proof or legal standards

applicable in disputes regarding whether particular Discovery Material is confidential, which level

of confidentiality is appropriate, whether disclosure should be restricted, and if so, what

restrictions should apply.

               (f)     Modification by Court. This Order is subject to further court order based

upon public policy or other considerations, and the Court may modify this Order sua sponte in the

interests of justice. The United States District Court for the District of Delaware is responsible for

the interpretation and enforcement of this Order. All disputes concerning Protected Material,

however designated, produced under the protection of this Order shall be resolved by the United

States District Court for the District of Delaware.

               (g)     Discovery Rules Remain Unchanged. Nothing herein shall alter or change

in any way the discovery provisions of the Federal Rules of Civil Procedure, the Local Rules for

the United States District Court for the District of Delaware, or the Court’s own orders.

Identification of any individual pursuant to this Protective Order does not make that individual

available for deposition or any other form of discovery outside of the restrictions and procedures

of the Federal Rules of Civil Procedure, the Local Rules for the United States District Court for

the District of Delaware, or the Court’s own orders.




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/s/ Emily S. DiBenedetto                 /s/ Brian P. Egan
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Dated: August 23, 2023                   (650) 802-3000

                                         Attorneys for Tesla, Inc.


      SO ORDERED this 23rd day of August 2023.



                                       The Honorable Maryellen Noreika
                                       United States District Court Judge


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                                               EXHIBIT A


         I,                                    , acknowledge and declare that I have received a

copy of the Protective Order (“Order”) in Autonomous Devices LLC v. Tesla, Inc., United

States District Court, District of Delaware, Civil Action No. 22-1466-MN. Having read and

understood the terms of the Order, I agree to be bound by the terms of the Order and consent

to the jurisdiction of said Court for the purpose of any proceeding to enforce the terms of the

Order.


         Name of individual:

         Present occupation/job description:




         Name of Company or Firm:

         Address:


         Dated:



                                                      [Signature]




                                                 35
